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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION


UNITED STATES OF AMERICA,                                                               Plaintiff,

v.                                                          Criminal Action No. 3:19-cr-39-DJH

DOMINIQUE TRIBBLE,                                                                    Defendant.

                                             * * * * *

                             MEMORANDUM OF CONFERENCE

         A telephonic status conference was held in this matter on June 20, 2019, with the

following counsel participating:

         For the United States:         Erin McKenzie

         For Defendant:                 Brian Butler

The Court and counsel discussed the procedural posture of the case. Counsel reported that the

parties are nearing completion of a plea agreement. The Court and counsel agreed that if no

motion to continue or motion to set the matter for a change of plea is filed by July 1, the Court

will set a further status conference.

         June 20, 2019




                                                     David J. Hale, Judge
                                                  United States District Court

Court Time: 00/05
Court Reporter: Dena Legg




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